 Case 2:10-cv-03018-WJM-MF Document 8 Filed 07/22/10 Page 1 of 1 PageID: 65




               UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                     M A R T IN L U T H E R K IN G JR . FE D E R A L B L D G . & U .S. C O U R T H O U SE
                                         50 W A L N U T ST R E E T , P.O . B O X 419
                                                N E W A R K , N J 07101-0419
                                                    (973) 645-6340

WILLIAM J. MARTINI
     JUDGE



July 22, 2010


Superior Court of New Jersey
Law Division - Hudson County
595 Newark Avenue
Jersey City, NJ 07306

       RE: Moss v. Gabriel Torres, et al
           Your Docket No. HUD-L-2477-10
           USDC No. 10–3018WJM

Dear Sir/Madam:

Pursuant to the Consent Order of Remand entered in the above
matter, enclosed please find a copy of the original order and one
certified copy of the docket.

Kindly acknowledge receipt of this letter.

                                           Sincerely,

                                           Gail A. Hansen,
                                           Court Clerk for Judge Martini



enc.


I/we hereby acknowledge receipt of the above mentioned documents.


_______________________________                                                    Dated:
